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            EXHIBIT C
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20                                 UNITED STATES DISTRICT COURT

21                            NORTHERN DISTRICT OF CALIFORNIA

22                                    SAN FRANCISCO DIVISION

23   ORACLE AMERICA, INC.                              Case No. CV 10-03561 WHA
24                    Plaintiff,                       PLAINTIFF’S SUPPLEMENTAL
                                                       RESPONSES TO DEFENDANT’S
25          v.                                         INTERROGATORIES, SET NO. 1
                                                       (INTERROGATORY NOS. 1-10)
26   GOOGLE INC.
                                                       MAY CONTAIN GOOGLE HIGHLY
27                    Defendant.                       CONFIDENTIAL – ATTORNEYS’
                                                       EYES ONLY INFORMATION
28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10
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 1   INTERROGATORY NO. 2:

 2            State in detail Oracle’s factual bases for its claim of direct copyright infringement,

 3   specifically including a comparison of each element of Java software, including without

 4   limitation any class libraries, API packages, method names, class names, definitions,

 5   organizational elements, parameters, structural elements, and documentation, to the

 6   corresponding Android element, as Oracle did in Exhibit J to its Amended Complaint.

 7   SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 2:

 8            Oracle owns many copyrights in the code, documentation, specifications, libraries, and

 9   other materials that comprise the Java platform. As new versions of the Java platform were

10   developed and the materials revised, the copyrights were registered with the United States

11   Copyright Office, including TX0004416302; TX0004326014; TX0004616088; TX0005271787;

12   TX0005316757; TX0005316758; TX0005359984; TX0005359985; TX0005359986;

13   TX0005359987; TX0005392885; TX0006066538; TX0006143306; TX0006196514; and

14   TX0006848555. Google has infringed Oracle’s copyrights.

15            Android Application Programmer Interface (API) package specifications (whether or not

16   from the Apache Harmony project) that correspond to Oracle’s Java API specifications are

17   unauthorized copying or making a derivative work, and Google’s unauthorized copying and

18   distribution of them is copyright infringement. A comparison of Android’s API package

19   specifications (available at http://developer.android.com/reference/packages.html) with Oracle’s

20   copyrighted Java API package specifications (for example, available at

21   http://download.oracle.com/javase/1.5.0/docs/api/,

22   http://download.oracle.com/javase/1.4.2/docs/api/, and

23   http://download.oracle.com/javase/1.3/docs/api/)9 demonstrates that the following Android

24   package specifications are derived from or substantially similar to Oracle’s copyrighted Java API

25   package specifications:

26
     9
       Oracle’s copyright infringement claim applies to all versions of Oracle’s Java API specifications and reference
27   implementations from which Android derives, which include J2SE 1.2, J2SE 1.3, J2SE 1.4, and J2SE 5.0.

28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                           9
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 1         1.    java.awt.font
 2         2.    java.beans
 3         3.    java.io
 4         4.    java.lang
 5         5.    java.lang.annotation
 6         6.    java.lang.ref
 7         7.    java.lang.reflect
 8         8.    java.net
 9         9.    java.nio
10         10.   java.nio.channels
11         11.   java.nio.channels.spi
12         12.   java.nio.charset
13         13.   java.nio.charset.spi
14         14.   java.security
15         15.   java.security.acl
16         16.   java.security.cert
17         17.   java.security.interfaces
18         18.   java.security.spec
19         19.   java.sql
20         20.   java.text
21         21.   java.util
22         22.   java.util.jar
23         23.   java.util.logging
24         24.   java.util.prefs
25         25.   java.util.regex
26         26.   java.util.zip
27         27.   javax.crypto
28         28.   javax.crypto.interfaces
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10   10
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 1            29.      javax.crypto.spec
 2            30.      javax.net
 3            31.      javax.net.ssl
 4            32.      javax.security.auth
 5            33.      javax.security.auth.callback
 6            34.      javax.security.auth.login
 7            35.      javax.security.auth.x500
 8            36.      javax.security.cert
 9            37.      javax.sql
10            Some Android package API specifications are substantially similar to selected portions of
11   some of the Oracle Java API package specifications (e.g., java.awt.font, java.beans) while other
12   Android package API specifications are substantially similar to complete portions of other Oracle
13   Java API package specifications (e.g., java.io, java.lang, java.net, java.nio, java.security, java.sql,
14   java.text). Exhibits A-E are illustrative examples.10
15            The Android source and object code (whether or not from the Apache Harmony project)
16   that purports to implement Oracle’s Java API specifications is unauthorized derivative work, and
17   Google’s unauthorized copying and distribution of it is copyright infringement. See, e.g., “What
18   is Android?” (available at http://developer.android.com/guide/basics/what-is-android.html
19   (“Android includes a set of core libraries that provides most of the functionality available in the
20   core libraries of the Java programming language.”)); Package Index (available at
21   http://developer.android.com/reference/packages.html), including those API packages listed
22   above, and subsidiary webpages; and source code and documentation files available in:11
23   10
         The illustrative examples are taken from http://download.oracle.com/javase/1.5.0/docs/api/ and
     http://developer.android.com/reference/packages.html.
24
     11
        Google continues to modify the source code available through http://android.git.kernel.org. Such changes are
25   subject to the discovery Oracle has propounded on Google. In any event, the cited source code examples are taken
     from http://android.git.kernel.org/. The citations are shortened and mirror the file paths shown in
26   http://android.git.kernel.org/. For example, “dalvik\vm\native\InternalNative.c” maps to “[platform/dalvik.git] / vm /
     native / InternalNative.c” (accessible at
27   http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/native/InternalNative.c) before modification by
     Google.
28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                          11
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 1   For Android 2.2 (“Froyo”):
 2          •      dalvik\libcore\security\src\main\java\java\security;
 3          •      dalvik\libcore\security\src\main\java\javax\security\cert;
 4          •      dalvik\libcore\security\src\main\java\org\apache\harmony\security;
 5          •      dalvik\libcore\luni\src\main\java\java;
 6          •      dalvik\libcore\luni\src\main\java\org\apache\harmony\luni;
 7          •      dalvik\libcore\luni-kernel\src\main\java\java\lang;
 8          •      dalvik\libcore\luni-kernel\src\main\java\org\apache\harmony\kernel;
 9          •      dalvik\libcore\luni-kernel\src\main\java\org\apache\harmony\lang;
10          •      dalvik\libcore\nio\src\main\java\java.
11   For Android 2.3 (“Gingerbread”):
12          •      libcore\luni\src\main\java\java\security;
13          •      libcore\luni\src\main\java\javax\security\cert;
14          •      libcore\luni\src\main\java\org\apache\harmony\security;
15          •      libcore\luni\src\main\java\java;
16          •      libcore\luni\src\main\java\org\apache\harmony\luni;
17          •      libcore\luni\src\main\java\java\lang;
18          •      libcore\luni\src\main\java\org\apache\harmony\kernel;
19          •      libcore\luni\src\main\java\org\apache\harmony\lang;
20          •      libcore\luni\src\main\java\java\nio.
21          Google has created and distributed infringing works written in native code, in addition to
22   Java code, that derive from Oracle’s copyrighted works. For example, Google makes and
23   distributes dalvik\vm\native\java_lang_Class.c, which is based on Oracle’s java.lang.Class
24   specification. Other examples include:
25          •      dalvik\vm\native\java_lang_Object.c
26          •      dalvik\vm\native\java_lang_reflect_AccessibleObject.c;
27          •      dalvik\vm\native\java_lang_reflect_Array.c;
28          •      dalvik\vm\native\java_lang_reflect_Constructor.c;
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                       12
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 1          •       dalvik\vm\native\java_lang_reflect_Field.c;
 2          •       dalvik\vm\native\java_lang_reflect_Method.c;
 3          •       dalvik\vm\native\java_lang_reflect_Proxy.c;
 4          •       dalvik\vm\native\java_lang_Runtime.c;
 5          •       dalvik\vm\native\java_lang_String.c;
 6          •       dalvik\vm\native\java_lang_System.c;
 7          •       dalvik\vm\native\java_lang_Throwable.c;
 8          •       dalvik\vm\native\java_lang_VMClassLoader.c;
 9          •       dalvik\vm\native\java_lang_VMThread.c; and
10          •       dalvik\vm\native\java_security_AccessController.c.
11          See also, e.g., source code files in libcore\luni\src\main\native; libcore\luni-
12   kernel\src\main\native.
13          Google’s Android videos directly reference inclusion of Java libraries in Android, e.g.:
14          •       Google Presentation, entitled “Android: Securing a Mobile Platform from the
15   Ground Up,” presented by Rich Cannings (Google’s Android Team) at the Usenix 18th Security
16   Symposium (Aug. 12, 2010), available at http://www.usenix.org/events/sec09/tech/.
17          •       Google I/O 2010 Video, entitled “A JIT Compiler for Android’s Dalvik VM,”
18   presented by Ben Cheng and Bill Buzbee (Google’s Android Team), available at
19   http://developer.android.com/videos/index.html#v=Ls0tM-c4Vfo.
20          •       Google I/O 2008 Video, entitled “Dalvik Virtual Machine Internals,” presented by
21   Dan Bornstein (Google Android Project), available at
22   http://developer.android.com/videos/index.html#v=ptjedOZEXPM.
23          Moreover, Google admits that Android incorporates a subset of Apache Harmony, which
24   it asserts is “an implementation of Sun’s Java.” (See, e.g., Google’s Amended Counterclaims
25   ¶¶ 6-7, 13.)
26          Google has distributed by way of Android and Android-related websites source and object
27   code derived from or substantially similar to Oracle’s source code or to decompiled Oracle object
28   code, including:
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                         13
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 1         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Acl
 2             EntryImpl.java
 3         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Acl
 4             Impl.java
 5         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Gro
 6             upImpl.java
 7         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Ow
 8             nerImpl.java
 9         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Per
10             missionImpl.java
11         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Pri
12             ncipalImpl.java
13         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/cert/Po
14             licyNodeImpl.java
15         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Acl
16             Enumerator.java (which was obtained by decompiling Oracle’s
17             /sun/security/acl/AclEnumerator.class)
18         •   /dalvik/libcore/luni/src/main/java/java/util/TimSort.java contains a method,
19             rangeCheck, copied from Oracle’s java/util/Arrays.java
20         •   /dalvik/libcore/luni/src/main/java/java/util/ComparableTimSort.java contains a
21             method, rangeCheck, copied from Oracle’s java/util/Arrays.java
22         •   /dalvik/libcore/security/src/test/java/org/apache/harmony/security/tests/java/security/C
23             odeSourceTest.java contains comments copied from Oracle’s
24             /java/security/CodeSource.java
25         •   /dalvik/libcore/security/src/test/java/tests/security/cert/CollectionCertStoreParameters
26             Test.java contains comments copied from Oracle’s
27             /java/security/cert/CollectionCertStoreParameters.java
28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                       14
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 1          Additional supporting evidence of Google’s copyright infringement can be found at, e.g.,
 2   GOOGLE-00296156-75; GOOGLE-00296453-60; GOOGLE-00296959-61; GOOGLE-
 3   00296500-03; GOOGLE-00296507; GOOGLE-00297265; GOOGLE-00297033-38, GOOGLE-
 4   00297252-57, GOOGLE-00297361-65 and similar questionnaires signed by other developers;
 5   GOOGLE-00296203-07; GOOGLE-00296498-99; GOOGLE-00296523-24; GOOGLE-
 6   00296525-26; GOOGLE-00297075-76; GOOGLE-00392221-24; GOOGLE-00392197;
 7   GOOGLE-00392204-12; GOOGLE-00392198-203; GOOGLE-00392213-16; GOOGLE-
 8   00392183-94; GOOGLE-00392181-82; GOOGLE-00392178-80; GOOGLE-02-00081462;
 9   GOOGLE-03-00075095; GOOGLE-01-00029843-45; GOOGLE-01-00026813; GOOGLE-02-
10   00018744; GOOGLE-01-00025454; GOOGLE-01-00023889.
11          Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
12   and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
13   responses are based on the information reasonably available at this time and Oracle will
14   supplement this response as appropriate under the Federal Rules of Civil Procedure.
15   INTERROGATORY NO. 3:
16          State in detail Oracle’s factual bases for each element of indirect copyright infringement,
17   specifically including an identification of any direct infringement and a description of the acts of
18   the alleged indirect infringer that contribute to or are inducing that direct infringement.
19   SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 3:
20          The factual bases for Oracle’s indirect copyright infringement claim include facts
21   demonstrating Google’s direct infringement (discussed in responses to Interrogatory Nos. 2 and
22   6); facts demonstrating that Google’s infringement was done with knowledge of Oracle’s
23   copyrights (discussed in response to Interrogatory No. 4); and facts demonstrating that users of
24   the Android Platform must copy and use portions of the Java Platform to manufacture and
25   distribute Android devices (discussed in response to Interrogatory No. 7). Google actively and
26   explicitly encourages the widespread adoption and implementation of the Android Platform by
27   device manufacturers, service providers, software companies, and application developers. See,
28   e.g., developer.android.com. Google distributes the Android Platform through the Open Handset
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                          15
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 1   INTERROGATORY NO. 5:
 2          Identify with specificity all Android computer program code (or other materials) that
 3   Oracle contends was directly copied from Oracle code (or other materials) and the Oracle code
 4   (or other materials) from which Oracle contends the Android code or other materials were copied.
 5   SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 5:
 6           Android Application Programmer Interface (API) package specifications (whether or not
 7   from the Apache Harmony project) that correspond to Oracle’s Java API specifications are
 8   unauthorized derivative work, and Google’s unauthorized copying and distribution of them is
 9   copyright infringement. A comparison of Android’s API package specifications (available at
10   http://developer.android.com/reference/packages.html) with Oracle’s copyrighted Java API
11   package specifications (for example, available at
12   http://download.oracle.com/javase/1.5.0/docs/api/,
13   http://download.oracle.com/javase/1.4.2/docs/api, and
14   http://download.oracle.com/javase/1.3/docs/api/) demonstrates that the following Android
15   package specifications are derived from or substantially similar to Oracle’s copyrighted Java API
16   package specifications:
17          1.      java.awt.font
18          2.      java.beans
19          3.      java.io
20          4.      java.lang
21          5.      java.lang.annotation
22          6.      java.lang.ref
23          7.      java.lang.reflect
24          8.      java.net
25          9.      java.nio
26          10.     java.nio.channels
27          11.     java.nio.channels.spi
28          12.     java.nio.charset
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                       20
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 1          13.     java.nio.charset.spi
 2          14.     java.security
 3          15.     java.security.acl
 4          16.     java.security.cert
 5          17.     java.security.interfaces
 6          18.     java.security.spec
 7          19.     java.sql
 8          20.     java.text
 9          21.     java.util
10          22.     java.util.jar
11          23.     java.util.logging
12          24.     java.util.prefs
13          25.     java.util.regex
14          26.     java.util.zip
15          27.     javax.crypto
16          28.     javax.crypto.interfaces
17          29.     javax.crypto.spec
18          30.     javax.net
19          31.     javax.net.ssl
20          32.     javax.security.auth
21          33.     javax.security.auth.callback
22          34.     javax.security.auth.login
23          35.     javax.security.auth.x500
24          36.     javax.security.cert
25          37.     javax.sql
26          Some Android package API specifications are substantially similar to selected portions of
27   some of the Oracle Java API package specifications (e.g., java.awt.font, java.beans) while other
28   Android package API specifications are substantially similar to complete portions of other Oracle
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                          21
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 1   Java API package specifications (e.g., java.io, java.lang, java.net, java.nio, java.security, java.sql,
 2   java.text).
 3            The Android source and object code (whether or not from the Apache Harmony project)
 4   that purports to implement Oracle’s Java API specifications is unauthorized derivative work, and
 5   Google’s unauthorized copying and distribution of it is copyright infringement. See, e.g.,
 6   Package Index (available at http://developer.android.com/reference/packages.html), including
 7   those API packages listed above, and subsidiary webpages; and source code and documentation
 8   files available in:12
 9   For Android 2.2 (“Froyo”):
10            •        dalvik\libcore\security\src\main\java\java\security;
11            •        dalvik\libcore\security\src\main\java\javax\security\cert;
12            •        dalvik\libcore\security\src\main\java\org\apache\harmony\security;
13            •        dalvik\libcore\luni\src\main\java\java;
14            •        dalvik\libcore\luni\src\main\java\org\apache\harmony\luni;
15            •        dalvik\libcore\luni-kernel\src\main\java\java\lang;
16            •        dalvik\libcore\luni-kernel\src\main\java\org\apache\harmony\kernel;
17            •        dalvik\libcore\luni-kernel\src\main\java\org\apache\harmony\lang;
18            •        dalvik\libcore\nio\src\main\java\java.
19   For Android 2.3 (“Gingerbread”):
20            •        libcore\luni\src\main\java\java\security;
21            •        libcore\luni\src\main\java\javax\security\cert;
22            •        libcore\luni\\src\main\java\org\apache\harmony\security;
23            •        libcore\luni\src\main\java\java;
24            12
                  Google continues to modify the source code available through http://android.git.kernel.org. Such changes
     are subject to the discovery Oracle has propounded on Google. In any event, the cited source code examples are
25   taken from http://android.git.kernel.org/. The citations are shortened and mirror the file paths shown in
     http://android.git.kernel.org/. For example, “dalvik\vm\native\InternalNative.c” maps to “[platform/dalvik.git] / vm /
26   native / InternalNative.c” (accessible at
     http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/native/InternalNative.c) before modification by
27   Google.

28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                         22
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 1          •       libcore\luni\src\main\java\org\apache\harmony\luni;
 2          •       libcore\luni\src\main\java\java\lang;
 3          •       libcore\luni\src\main\java\org\apache\harmony\kernel;
 4          •       libcore\luni\src\main\java\org\apache\harmony\lang;
 5          •       libcore\luni\src\main\java\java\nio.
 6          Google has created and distributed infringing works written in native code, in addition to
 7   Java code, that derive from Oracle’s copyrighted works. For example, Google makes and
 8   distributes dalvik\vm\native\java_lang_Class.c, which is based on Oracle’s java.lang.Class
 9   specification. Other examples include:
10          •       dalvik\vm\native\java_lang_Object.c
11          •       dalvik\vm\native\java_lang_reflect_AccessibleObject.c;
12          •       dalvik\vm\native\java_lang_reflect_Array.c;
13          •       dalvik\vm\native\java_lang_reflect_Constructor.c;
14          •       dalvik\vm\native\java_lang_reflect_Field.c;
15          •       dalvik\vm\native\java_lang_reflect_Method.c;
16          •       dalvik\vm\native\java_lang_reflect_Proxy.c;
17          •       dalvik\vm\native\java_lang_Runtime.c;
18          •       dalvik\vm\native\java_lang_String.c;
19          •       dalvik\vm\native\java_lang_System.c;
20          •       dalvik\vm\native\java_lang_Throwable.c;
21          •       dalvik\vm\native\java_lang_VMClassLoader.c;
22          •       dalvik\vm\native\java_lang_VMThread.c; and
23          •       dalvik\vm\native\java_security_AccessController.c.
24          See also, e.g., source code files in libcore\luni\src\main\native; libcore\luni-
25   kernel\src\main\native.
26          Google has distributed by way of Android and Android-related websites source and object
27   code derived from or substantially similar to Oracle’s source code or to decompiled Oracle object
28   code, including:
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                       23
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 1         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Acl
 2             EntryImpl.java (which is substantially similar to the result of decompiling Oracle’s
 3             /sun/security/acl/AclEntryImpl.class)
 4         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Acl
 5             Impl.java (which is substantially similar to the result of decompiling Oracle’s
 6             /sun/security/acl/AclImpl.class)
 7         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Gro
 8             upImpl.java (which is substantially similar to the result of decompiling Oracle’s
 9             /sun/security/acl/GroupImpl.class)
10         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Ow
11             nerImpl.java (which is substantially similar to the result of decompiling Oracle’s
12             /sun/security/acl/OwnerImpl.class)
13         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Per
14             missionImpl.java (which is substantially similar to the result of decompiling Oracle’s
15             /sun/security/acl/PermissionImpl.class)
16         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Pri
17             ncipalImpl.java (which is substantially similar to the result of decompiling Oracle’s
18             /sun/security/acl/PrincipalImpl.class)
19         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/cert/Po
20             licyNodeImpl.java (which is substantially similar to the result of decompiling Oracle’s
21             /sun/security/acl/PolicyNodeImpl.class)
22         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Acl
23             Enumerator.java (which was obtained by decompiling Oracle’s
24             /sun/security/acl/AclEnumerator.class)
25         •   /dalvik/libcore/luni/src/main/java/java/util/TimSort.java contains a method,
26             rangeCheck, copied from Oracle’s java/util/Arrays.java
27         •   /dalvik/libcore/luni/src/main/java/java/util/ComparableTimSort.java contains a
28             method, rangeCheck, copied from Oracle’s java/util/Arrays.java
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 1           •   /dalvik/libcore/security/src/test/java/org/apache/harmony/security/tests/java/security/C
 2               odeSourceTest.java contains comments copied from Oracle’s
 3               /java/security/CodeSource.java
 4           •   /dalvik/libcore/security/src/test/java/tests/security/cert/CollectionCertStoreParameters
 5               Test.java contains comments copied from Oracle’s
 6               /java/security/cert/CollectionCertStoreParameters.java
 7           Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
 8   and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
 9   responses are based on the information reasonably available at this time and Oracle will
10   supplement this response as appropriate under the Federal Rules of Civil Procedure.
11   INTERROGATORY NO. 6:
12           State in detail Oracle’s factual bases for its contention that approximately one third of
13   Android’s Application Programmer Interface (API) packages (available at
14   http://developer.android.com/reference/packages.html) are derivative of Oracle America’s
15   copyrighted Java API packages (available at http://download-
16   llnw.oracle.com/javase/1.5.0/docs/api/ and http://download-
17   llnw.oracle.com/javase/1.4.2/docs/api/) and corresponding documents.
18   SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 6:
19           Thirty-seven of Google’s Android API package specifications are derived from or
20   substantially similar to Oracle’s Java SE API package specifications. The list of packages
21   includes: java.awt.font, java.beans, java.io, java.lang, java.lang.annotation, java.lang.ref,
22   java.lang.reflect, java.net, java.nio, java.nio.channels, java.nio.channels.spi, java.nio.charset,
23   java.nio.charset.spi, java.security, java.security.acl, java.security.cert, java.security.interfaces,
24   java.security.spec, java.sql, java.text, java.util, java.util.jar, java.util.logging, java.util.prefs,
25   java.util.regex, java.util.zip, javax.crypto, javax.crypto.interfaces, javax.crypto.spec, javax.net,
26   javax.net.ssl, javax.security.auth, javax.security.auth.callback, javax.security.auth.login,
27   javax.security.auth.x500, javax.security.cert, and javax.sql.
28
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 1                                    CERTIFICATE OF SERVICE
 2           I declare that I am employed with the law firm of Morrison & Foerster LLP, whose address
     is 755 Page Mill Road, Palo Alto, California 94304-1018. I am not a party to the within cause,
 3   and I am over the age of eighteen years.
 4          I further declare that on July 29, 2011, I served a copy of:
 5                  PLAINTIFF’S SUPPLEMENTAL RESPONSES TO
                    DEFENDANT’S INTERROGATORY NOS. 1-10
 6

 7
        :      BY ELECTRONIC SERVICE [Fed. Rule Civ. Proc. rule 5(b)] by electronically
               mailing a true and correct copy through Morrison & Foerster LLP's electronic mail
 8             system to the e-mail address(es) set forth below, or as stated on the attached service
 9             list per agreement in accordance with Federal Rules of Civil Procedure rule 5(b).

10
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18
            I declare under penalty of perjury under the laws of the United States that the foregoing is
19   true and correct.
20          Executed at Palo Alto, California, this 29th day of July, 2011.
21

22

23

24                 Marc David Peters                                /s/ Marc David Peters
                        (typed)                                          (signature)
25

26

27

28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                        32
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